977 F.2d 572
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronnie Ray KEITH, Plaintiff-Appellant,v.Louise HALL, Defendant-Appellee.
    No. 92-6400.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 28, 1992Decided:  October 21, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.
      Ronnie Ray Keith, Appellant Pro Se.
      Linwood Theodore Wells, Jr., Assistant Attorney General, Richmond, Virginia, for Appellee.
      W.D.Va.
      AFFIRMED.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ronnie Ray Keith appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Keith v. Hall, No. CA-92-21-R (W.D. Va.  Apr. 3, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    